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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    TERRY CRANDALL MINCEY,            )       No. CV-F-04-6373 REC
                                       )       (No. CR-F-97-5266 REC)
10                                     )
                                       )       ORDER DENYING PETITIONER'S
11                   Petitioner,       )       MOTIONS FOR NEW TRIAL AND
                                       )       RELIEF FROM JUDGMENT
12             vs.                     )
                                       )
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                   Respondent.       )
                                       )
16                                     )

17        The court hereby denies petitioner’s motions for a new trial

18   and relief from judgment.     Although petitioner asserts that he

19   expected this court to order the United States to respond to his

20   motion to vacate, set aside or correct sentence pursuant to 28

21   U.S.C. § 2255 and to set a date for petitioner’s reply, this

22   court only does so when the court concludes from its initial

23   review that one or more of the claims asserted in the Section

24   2255 motion have arguable merit, thereby necessitating a response

25   from the United States      As the court ruled in its Order Denying

26   Petitioner’s Motion to Vacate, Set Aside or Correct Sentence

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1    filed on June 3, 2005, petitioner failed to demonstrate that he

2    is entitled to relief under Section 2255 with regard to any of

3    the numerous claims asserted by petitioner.        Petitioner’s

4    arguments to the contrary set forth in the instant motion do not

5    persuade the court that the rulings made in the June 3, 2005

6    Order are erroneous or contrary to law given the standards

7    governing preliminary review of a Section 2255 motion and the

8    standards governing relief under Section 2255.

9         ACCORDINGLY:

10        1.   Petitioner’s motions for new trial and relief from

11   judgment are denied.

12        IT IS SO ORDERED.

13   Dated:    October 21, 2005                    /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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